      Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.1 Page 1 of 22




TREVOR C. LANG [14232]
TREVOR.LANG@CHRISJEN.COM
CHRISTENSEN & JENSEN, PC
257 EAST 200 SOUTH, SUITE 1100
SALT LAKE CITY, UTAH 84111
TELEPHONE: 801.323.5000

ATTORNEYS FOR PLAINTIFFS
NOVO NORDISK A/S AND
NOVO NORDISK INC.

                        IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH, NORTHERN DIVISION


NOVO NORDISK A/S and
NOVO NORDISK INC.,
                                                                   COMPLAINT
          Plaintiffs,
 v.                                                           Case No. 1:24-cv-00185

 BLIV WELLNESS, LLC, a Utah limited                            Judge Robert J. Shelby
 liability company,

          Defendant.

         Plaintiffs Novo Nordisk A/S (“NNAS”) and Novo Nordisk Inc. (“NNI”) (collectively,

“Plaintiffs” or “Novo Nordisk”) for their complaint for false advertising and unfair and deceptive

trade practices seeking injunctive and other relief against Defendant Bliv Wellness LLC

(“Defendant”) hereby allege as follows, on actual knowledge with respect to themselves and

their own acts and on information and belief as to all other matters.

                                    INTRODUCTION

         1.      Novo Nordisk is a healthcare company with a 100-year history of innovation in

developing medicines to treat serious chronic diseases like diabetes and obesity.
   Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.2 Page 2 of 22




       2.      The development of semaglutide is an example of Novo Nordisk’s commitment to

innovation for those living with chronic diseases. Semaglutide is the foundational molecule that

serves as the primary ingredient for Novo Nordisk’s three prescription-only medicines approved

by the Food and Drug Administration (“FDA”): Ozempic® (semaglutide) injection and

Rybelsus® (semaglutide) tablets for adults with type 2 diabetes and Wegovy® (semaglutide)

injection for chronic weight management.

       3.      Novo Nordisk is the only company in the United States with FDA-approved

medicines containing semaglutide.

       4.      Novo Nordisk is also the only company authorized to identify its FDA-approved

semaglutide medicines using the trademarks Ozempic®, Wegovy®, and Rybelsus®.

       5.      The FDA has not approved any generic versions of semaglutide medicines. To

the contrary, the FDA has sent warning letters to companies that have claimed that their

unapproved products have the “[s]ame active ingredient as Ozempic, Rybelsus and Wegovy,”

noting that Ozempic and Wegovy are the only “two injectable semaglutide products FDA‐

approved for the U.S. market.”1

       6.      This action is brought pursuant to the Lanham Act, 15 U.S.C. §§ 1051 et seq.,

related state law, and the common law arising out of Defendant’s acts of false advertising and

unfair and deceptive trade practices, and Plaintiffs’ rights in their Wegovy®, Ozempic®, and

Rybelsus® marks.




       1
          FDA – Warning Letter to Ozempen.com, MARCS-CMS 684435 — JUNE 24, 2024,
https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-
letters/ozempencom-684435-06242024.

                                            –2 of 22–
                                           COMPLAINT
   Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.3 Page 3 of 22




       7.      Defendant markets and sells to patients compounded drug products that purport to

contain semaglutide.

       8.      Even though such compounded drug products have not been evaluated by the

FDA for their safety, effectiveness, or quality, Defendant falsely and misleadingly represents to

patients that its products are FDA-approved or the same as, or equivalent to, Novo Nordisk’s

FDA-approved semaglutide medicines.

       9.      Defendant’s conduct is likely to confuse and deceive patients into mistakenly

believing that they are purchasing authentic Novo Nordisk medicines or medicines that have

been evaluated by the FDA, studied in clinical trials, and deemed safe and effective.

                                     THE PARTIES

       10.     Plaintiff NNAS is a corporation organized and existing under the laws of the

Kingdom of Denmark and has its principal place of business at Novo Alle 1, 2880 Bagsvaerd,

Denmark.

       11.     Novo Nordisk developed the Ozempic®, Wegovy®, and Rybelsus® medicines.

       12.     NNAS has granted to Plaintiff NNI exclusive rights to market, advertise, promote,

offer for sale, and sell Ozempic®, Wegovy®, and Rybelsus® medicines in the United States.

       13.     NNI is a corporation organized and existing under the laws of Delaware and has

its principal place of business at 800 Scudders Mill Road, Plainsboro, New Jersey 08536.

       14.     NNI promotes, offers, and sells Novo Nordisk’s Ozempic®, Wegovy®, and

Rybelsus® medicines throughout the United States, including in this District.

       15.     Defendant Bliv Wellness LLC is a Utah limited liability company with a principal

place of business at 2411 Kiesel Ave, Suite 402, Ogden, Utah, 84401 in this judicial district.


                                            –3 of 22–
                                           COMPLAINT
   Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.4 Page 4 of 22




       16.     Defendant sells and promotes compounded drug products that purport to contain

semaglutide, but that have not been approved by the FDA (“Unapproved Compounded Drugs”).

       17.     Defendant falsely claims, or otherwise misleadingly suggests, that its Unapproved

Compounded Drugs are the same as or equivalent to Ozempic®, Wegovy®, and Rybelsus®

medicines.

                            JURISDICTION AND VENUE

       18.     The Court has subject matter jurisdiction over the Lanham Act cause of action

pleaded herein pursuant to 15 U.S.C. § 1121 and 28 U.S.C. § 1338(a).

       19.     The Court has supplemental jurisdiction over the state and common law causes of

action pleaded herein pursuant to 28 U.S.C. § 1338(b).

       20.     Defendant is subject to personal jurisdiction in this District because Defendant is

a Utah limited liability company and has a principal place of business in Utah.

       21.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendant

resides and operates in this District, manufactures and sells its compounded drug products that

purport to contain semaglutide in this District and otherwise conducts business in this District.

   NOVO NORDISK’S FDA-APPROVED SEMAGLUTIDE MEDICINES AND
       OZEMPIC®, WEGOVY®, AND RYBELSUS® TRADEMARKS

       22.     Plaintiffs use the trademarks “Ozempic,” “Wegovy,” and “Rybelsus” to identify

and promote the FDA-approved Ozempic®, Wegovy®, and Rybelsus® medicines. The

Ozempic®, Wegovy®, and Rybelsus® medicines are sold and marketed in the United States by

NNAS’s indirect, wholly-owned subsidiary, NNI.

       23.     The Ozempic® medicine is indicated for adults with type 2 diabetes to improve

blood sugar (glucose), along with diet and exercise, and also lowers the risk of major

                                            –4 of 22–
                                           COMPLAINT
   Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.5 Page 5 of 22




cardiovascular events such as stroke, heart attack, or death in adults with type 2 diabetes and

known heart disease.

       24.     The Wegovy® medicine is indicated to reduce excess body weight and maintain

weight reduction long term in adults and children aged 12 years and older with obesity, and some

adults who are overweight and have weight-related medical problems, along with a reduced

calorie diet and increased physical activity.

       25.     The Wegovy® medicine is also indicated, with a reduced calorie diet and

increased physical activity, to reduce the risk of major adverse cardiovascular events such as

“cardiovascular” death, heart attack, or stroke in adults with heart disease and who are either

obese or overweight.

       26.     The Rybelsus® medicine is indicated for adults with type 2 diabetes to improve

blood sugar (glucose), along with diet and exercise.

       27.     The Ozempic®, Wegovy®, and Rybelsus® medicines have been extensively

studied in clinical trials and are FDA-approved.

       28.     Each of the Ozempic®, Wegovy®, and Rybelsus® medicines has a unique safety

and efficacy profile which is set forth in its respective product label.

       29.     The Ozempic®, Wegovy®, and Rybelsus® medicines are prescription-only

medicines that should be prescribed only in direct consultation with, and under the supervision

of, a licensed healthcare professional.

       DEFENDANT’S SALE OF UNAPPROVED COMPOUNDED DRUGS

       30.     Novo Nordisk does not sell its FDA-approved semaglutide medicines, Ozempic®,

Wegovy®, and Rybelsus® to Defendant for resale or redistribution.


                                              –5 of 22–
                                             COMPLAINT
   Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.6 Page 6 of 22




       31.     Defendant markets and sells to patients Unapproved Compounded Drugs that

purport to contain semaglutide.

       32.     The FDA has not approved Defendant’s Unapproved Compounded Drugs.

       33.     On information and belief, the Unapproved Compounded Drugs sold by

Defendant are made by compounding pharmacies, which deliver them either directly to patients

or to Defendant for administration or dispensing to patients.

       34.     The FDA defines compounding as a “practice in which a licensed pharmacist, a

licensed physician, or, in the case of an outsourcing facility, a person under the supervision of a

licensed pharmacist, combines, mixes, or alters ingredients of a drug to create a medication

tailored to the needs of an individual patient.”2

       35.     According to the FDA, “[c]ompounded drugs are not FDA-approved. This means

that FDA does not review these drugs to evaluate their safety, effectiveness, or quality before

they reach patients.”3

       36.     The FDA has further stated that compounded drugs “do not have the same safety,

quality, and effectiveness assurances as approved drugs. Unnecessary use of compounded drugs

unnecessarily exposes patients to potentially serious health risks.”4

       37.     As the FDA has explained, “[c]ompounded drugs pose a higher risk to patients

than FDA-approved drugs because compounded drugs do not undergo FDA premarket review


       2
          Human Drug Compounding, https://www.fda.gov/drugs/guidance-compliance-
regulatory-information/human-drug-compounding.
        3
          Compounding Laws and Policies, https://www.fda.gov/drugs/human-drug-
compounding/compounding-laws-and-policies.
        4
          Compounding and the FDA: Questions and Answers,
https://www.fda.gov/drugs/human-drug-compounding/compounding-and-fda-questions-and-
answers.

                                             –6 of 22–
                                            COMPLAINT
   Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.7 Page 7 of 22




for safety, quality or effectiveness. Compounded drugs should only be used for patients whose

medical needs cannot be met by an available FDA-approved drug.”5

       38.     The process used to produce most “semaglutide” used in compounding is

fundamentally different from the process used to produce the semaglutide in Novo Nordisk’s

FDA-approved medicines. Novo Nordisk manufactures the semaglutide in its medicines,

pursuant to its FDA approval, in yeast cells under a closely controlled multistep process that uses

recombinant DNA technology. Most compounded “semaglutide,” however, uses a

“semaglutide” manufactured via chemical synthesis. The fundamental differences between these

processes have resulted in new impurities, higher levels of known impurities, immunogenicity

concerns, and potential stability issues in tested samples of compounded “semaglutide.”6

       39.     The FDA has received reports of adverse events, some requiring hospitalization,

related to overdoses from dosing errors associated with compounded “semaglutide” products.7

Based on data as of September 30, 2024, the FDA’s Adverse Event Reporting System (FAERS)

database includes 619 cases of adverse events associated with compounded “semaglutide”—

nearly triple the number of adverse events for all compounded drugs in 2022.8 Of those 619


       5
          FDA Alerts Health Care Providers, Compounders and Patients of Dosing Errors
Associated with Compounded Injectable Semaglutide Products,
https://www.fda.gov/drugs/human-drug-compounding/fda-alerts-health-care-providers-
compounders-and-patients-dosing-errors-associated-compounded.
        6
          Morten Hach et al, Impact of Manufacturing Process and Compounding on Properties
and Quality of Follow-On GLP-1 Polypeptide Drugs, Pharm. Res., (Oct. 8, 2024), available at
https://pubmed.ncbi.nlm.nih.gov/39379664/.
        7
          FDA Alerts Health Care Providers, Compounders and Patients of Dosing Errors
Associated with Compounded Injectable Semaglutide Products,
https://www.fda.gov/drugs/human-drug-compounding/fda-alerts-health-care-providers-
compounders-and-patients-dosing-errors-associated-compounded.
        8
          FDA Adverse Event Reporting System (FAERS) Public Dashboard,
https://www.fda.gov/drugs/questions-and-answers-fdas-adverse-event-reporting-system-

                                            –7 of 22–
                                           COMPLAINT
   Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.8 Page 8 of 22




cases, the FDA classified 446 as “serious” adverse events, 144 as requiring hospitalization, and

twelve as involving deaths. In several instances, patients mistakenly administered five to 20

times more than the intended dose of compounded “semaglutide.”

       40.     The FDA has stated that the containers and packaging (including multidose vials

and prefilled syringes) used by compounders, the varying product concentrations, and the

instructions accompanying the compounded drug contribute to the potential medical errors.

       41.     A publication from the Journal of the American Pharmacists Association also

highlighted errors where patients accidentally self-administered doses of compounded

“semaglutide” up to ten times greater than the intended amount.9

       42.     FDA has issued guidance on its “Concerns with Unapproved GLP-1 Drugs Used

for Weight Loss,” which provides that: (1) “compounded drugs are not FDA-approved”; (2) use

of compounded drugs containing “semaglutide” “can be risky for patients, as unapproved

versions do not undergo FDA’s review for safety, effectiveness and quality”; and (3) “FDA has

received reports of adverse events related to compounded versions of semaglutide . . . .

However, federal law does not require state-licensed pharmacies that are not outsourcing

facilities to submit adverse events to FDA so it is likely that adverse events from compounded

versions of these drugs are underreported.”10




faers/fda-adverse-event-reporting-system-faers-public-dashboard (last visited October 31, 2024).
        9
          Joseph E. Lambson et al, Administration Errors of Compounded Semaglutide Reported
to a Poison Control Center—Case Series, 63 J. Am. Pharmacists Assc’n 5 (2023), available at
https://www.japha.org/article/S1544-3191(23)00231-5/abstract.
        10
           FDA’s Concerns with Unapproved GLP-1 Drugs Used for Weight Loss,
https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-providers/fdas-
concerns-unapproved-glp-1-drugs-used-weight-loss.

                                            –8 of 22–
                                           COMPLAINT
   Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.9 Page 9 of 22




DEFENDANT’S FALSE ADVERTISING IN CONNECTION WITH ITS SALE OF
              UNAPPROVED COMPOUNDED DRUGS

       43.     Despite the foregoing, Defendant makes false and misleading representations to

patients regarding the nature of its Unapproved Compounded Drugs.

       44.     Defendant promotes its Unapproved Compounded Drugs in connection with

operating a medical clinic and offering telehealth services, including through its website.

       45.     Defendant falsely advertises its Unapproved Compounded Drugs by making

statements that describe Ozempic®, Wegovy®, and Rybelsus® medicines, but that are false or

misleading when in reference to Defendant’s Unapproved Compounded Drugs.

       46.     Defendant falsely claims or implies that its Unapproved Compounded Drugs have

been approved by the FDA or have been reviewed by the FDA for safety, effectiveness, and

quality.

       47.     On its social media, Defendant makes false and misleading representations

regarding approval by the FDA, as reflected below. It claims: “After significant medical

research, the FDA has approved GLP-1 medications like Semaglutide . . . for weight loss”; and

“In 2021, the FDA approved Semaglutide (a weekly injection) for chronic management.” See

Exhibit A.




                                            –9 of 22–
                                           COMPLAINT
Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.10 Page 10 of 22




                                –10 of 22–
                               COMPLAINT
  Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.11 Page 11 of 22




       48.    Contrary to Defendant’s representations, the FDA has made no such approval for

a “semaglutide” peptide generally. Instead, the FDA has approved three of Novo Nordisk’s

complete medicines, which contain semaglutide for the specific indications outlined in the

preceding paragraphs.

       49.    Defendant’s false representations mislead customers into believing, incorrectly,

that the products with “semaglutide” offered by Defendant has been reviewed and approved by

the FDA for safety and effectiveness.

       50.    Defendant further falsely claims or implies that its Unapproved Compounded

Drugs are the same as or equivalent to Ozempic®, Wegovy®, and Rybelsus® medicines. See

Exhibit B.

       51.    On its website and social media, Defendant in promotional materials falsely and

misleadingly equates Plaintiffs’ FDA-approved medicines in the context of discussing

Defendant’s Unapproved Compounded Drugs by labeling the latter as “Ozempic (semaglutide)”

and using imagery of Plaintiffs’ FDA-approved medicines.

                                           –11 of 22–
                                          COMPLAINT
Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.12 Page 12 of 22




                                –12 of 22–
                               COMPLAINT
  Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.13 Page 13 of 22




         52.   Such representations falsely indicate that the “semaglutide” it purports to offer is

just another name for, or an FDA-approved generic version of, the FDA-approved Ozempic®,

Wegovy®, and Rybelsus® medicines.

         53.   Novo Nordisk is not directly or indirectly supplying semaglutide to Defendant or

any compounding pharmacies from which they may be sourcing their Unapproved Compounded

Drugs.

         54.   The FDA has not reviewed the “semaglutide” allegedly in Defendant’s

Unapproved Compounded Drugs for safety, effectiveness, or quality, or otherwise as equivalent

in safety, effectiveness, or quality to, Novo Nordisk’s medicines.

         55.   Defendant has no basis to compare the “semaglutide” allegedly in its Unapproved

Compounded Drugs to Novo Nordisk’s FDA-approved medications containing semaglutide.

         56.   Defendant further falsely claims or implies that its Unapproved Compounded

Drugs have been subjected to clinical studies and trials, or have otherwise achieved therapeutic

outcomes attributable to the Wegovy®, Ozempic®, and Rybelsus® medicines.



                                            –13 of 22–
                                           COMPLAINT
  Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.14 Page 14 of 22




       57.     On its website, Defendant in promotional materials refers to studies or clinical

trials that, on information and belief, did not involve the semaglutide product sold by Defendant:

“The onset of weight reduction with GLP-1 receptor agonists such as semaglutide (brand name

Wegovy) is subject to individual variation. Clinical studies indicate that patients may experience

a discernible decrease in body weight as early as 16 weeks subsequent to initiating therapy with

Wegovy, with progressive weight loss observed up to week 68”; “Another study . . . found that

semaglutide showed significant weight loss results within 16 weeks of use.” See Exhibit C.




                                            –14 of 22–
                                           COMPLAINT
  Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.15 Page 15 of 22




        58.     On information and belief, Defendant has not conducted any clinical studies on its

Unapproved Compounded Drugs and is instead misleadingly referring to studies of Novo

Nordisk’s FDA-approved medicines to promote its Unapproved Compounded Drugs.

        59.     On information and belief, Defendant has engaged in these unlawful practices to

attract customers and generate revenues and profits.

        60.     Defendant’s false and misleading statements and practices are likely to cause

mistake and deception in the marketplace.

        61.     Defendant’s false and misleading marketing is also likely to expose patients to

unnecessary risks. Patients who mistakenly believe Defendant to be offering Novo Nordisk’s

FDA-approved medicines, or equivalent thereto, are unlikely to understand the unique risks

associated with, or the lack of clinical trials or testing establishing the safety and effectiveness

of, Defendant’s Unapproved Compounded Drugs.11

        62.     On information and belief, unless enjoined by this Court, Defendant will continue

to falsely advertise its products in violation of Plaintiffs’ rights.

        63.     On information and belief, unless enjoined by this Court, Defendant’s conduct

will continue to cause mistake and deception.



        11
           See, e.g., Dozens Say They Lost Eyesight After Routine Surgery Using Compounded
Pharmacy Drugs, WFAA, https://www.wfaa.com/article/news/do-not-publish-yet/287-5f002ed3-
e110-4063-9959-a2e5f54b5097 (reporting mistaken belief of patient taking a compounded drug
that “every pill you take, every shot you take is tested”); FDA Alerts Health Care Providers,
Compounders and Patients of Dosing Errors Associated with Compounded Injectable
Semaglutide Products, https://www.fda.gov/drugs/human-drug-compounding/fda-alerts-health-
care-providers-compounders-and-patients-dosing-errors-associated-
compounded?utm_medium=email&utm_source=govdelivery (“Compounded drugs pose a higher
risk to patients than FDA-approved drugs because compounded drugs do not undergo FDA
premarket review for safety, quality or effectiveness.”).

                                               –15 of 22–
                                              COMPLAINT
  Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.16 Page 16 of 22




                                  FIRST CAUSE OF ACTION

                Defendant’s False and Misleading Advertising and Promotion
                          in Violation of 15 U.S.C. § 1125(a)(1)(B)

       64.     Plaintiffs reallege and incorporate each allegation in the preceding paragraphs of

this Complaint as though fully set forth here.

       65.     Defendant’s practices, as described in this Complaint, constitute unfair

competition and false advertising in violation of Section 43(a)(1)(B) of the Lanham Act, 15

U.S.C. § 1125(a)(1)(B).

       66.     Defendant has violated the Lanham Act by using false or misleading descriptions

of fact and false or misleading representations of fact in its commercial advertising or promotion

that misrepresent the nature, characteristics, and qualities of Defendant’s business practices and

products, as set forth above.

       67.     Defendant has also engaged in other false or misleading advertising and

promotion intended to assure patients that Defendant’s practices are lawful. On information and

belief, Defendant provides patients who purchase Defendant’s Unapproved Compounded Drugs

(or who Defendant is trying to persuade to purchase its drugs) information that makes false or

misleading statements, including those described herein and in the exhibits hereto.

       68.     The above-described acts of Defendant, if not enjoined by this Court, are likely to

deceive members of the general public.

       69.     The above-described acts of Defendant have irreparably harmed and, if not

enjoined, will continue to irreparably harm Plaintiffs.




                                             –16 of 22–
                                            COMPLAINT
  Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.17 Page 17 of 22




       70.     The above-described acts of Defendant have irreparably harmed and, if not

enjoined, will continue to irreparably harm the interest of the public in being free from

confusion, mistake, and deception.

       71.     By reason of Defendant’s acts as alleged above, Plaintiffs have suffered and will

continue to suffer injuries, including injury to Plaintiffs’ business reputation.

       72.     Because Plaintiffs’ remedies at law are not adequate to compensate for all the

injuries inflicted by Defendant, Plaintiffs are entitled to entry of preliminary and permanent

injunctive relief requiring Defendant to cease its false and misleading advertising and promotion

and unfair competitive practices.

       73.     Because the above-described acts of Defendant are willful, Plaintiffs are entitled

to disgorgement of Defendant’s profits (enhanced at the Court’s discretion), treble damages, and

costs under 15 U.S.C. § 1117.

       74.     This case is exceptional, making Plaintiffs eligible for an award of attorneys’ fees

under 15 U.S.C. § 1117.

                                 SECOND CAUSE OF ACTION

                     Unfair Competition in Violation of the Common Law

       75.     Plaintiffs reallege and incorporate each allegation in the preceding paragraphs of

this Complaint as though fully set forth here.

       76.     The above-described acts of Defendant constitute common law unfair

competition.

       77.     The above-described acts of Defendant unfairly and wrongfully exploit Plaintiffs’

goodwill and reputation.


                                              –17 of 22–
                                             COMPLAINT
  Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.18 Page 18 of 22




       78.     The above-described acts of Defendant have irreparably harmed and, if not

enjoined, will continue to irreparably harm the interest of the public in being free from

confusion, mistake, and deception.

       79.     Because Plaintiffs’ remedies at law are not adequate to compensate for the

injuries inflicted by Defendant, Plaintiffs are entitled to entry of preliminary and permanent

injunctive relief, in addition to monetary relief in the form of disgorgement of Defendant’s

profits and corrective advertising costs.

                                  THIRD CAUSE OF ACTION

                     Deceptive Trade Practices in Violation of the Utah
                   Truth in Advertising Act, Utah Code §§ 13-11a-1 et seq.

       80.     Plaintiffs reallege and incorporate each allegation in the preceding paragraphs of

this Complaint as though fully set forth here.

       81.     The Utah Truth in Advertising Act, Utah Code §§ 13-11a-1 et seq. prohibits, inter

alia, in the course of a person’s business, vocation, or occupation that person from

“represent[ing] that goods or services have sponsorship, approval, characteristics, ingredients,

uses, benefits, or qualities that they do not have or that a person has a sponsorship, approval,

status, affiliation, or connection that the person does not have.” See Utah Code Ann. § 13-11a-3.

       82.     Defendant has violated the Utah Truth in Advertising Act by using false or

misleading descriptions of fact and false or misleading representations of fact in its commercial

advertising or promotion that misrepresent the nature, characteristics, and qualities of

Defendant’s business practices and products, as set forth above.

       83.     Defendant has also engaged in other false or misleading advertising and

promotion intended to assure patients that Defendant’s practices are lawful. On information and

                                             –18 of 22–
                                            COMPLAINT
  Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.19 Page 19 of 22




belief, Defendant provides patients who purchase Defendant’s Unapproved Compounded Drugs

(or whom Defendant is trying to persuade to purchase its drugs) information that makes several

false or misleading statements, including those described herein and in the exhibits hereto.

        84.    The above-described acts of Defendant, if not enjoined by this Court, are likely to

deceive members of the general public.

        85.    The above-described acts of Defendant have irreparably harmed and, if not

enjoined, will continue to irreparably harm Plaintiffs.

        86.    The Court should enter preliminary and permanent injunctive relief, in addition to

awarding disgorgement of Defendant’s profits attributable to Defendant’s statements to

Plaintiffs.

                                   REQUEST FOR RELIEF

        WHEREFORE, Plaintiffs request judgment against Defendant as follows:

        1.     That the Court enter a judgment against Defendant that Defendant has:

                       a.     Engaged in false and misleading advertising and promotion, in

               violation of 15 U.S.C. § 1125(a); and

                       b.     Engaged in unfair competition under the common law and violated

               the Utah Truth In Advertising Act, Utah Code §§ 13-11a-3 et seq.

        2.     That the Court find that each of the above acts was willful.

        3.     That the Court preliminarily and permanently enjoin and restrain Defendant and

its agents, servants, employees, successors, and assigns, and all other persons acting in concert

with or in conspiracy with or affiliated with Defendant, from:




                                             –19 of 22–
                                            COMPLAINT
Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.20 Page 20 of 22




                a.          advertising, stating, or suggesting that any Unapproved

         Compounded Drugs, including any Unapproved Compounded Drugs that either

         are available, directly or indirectly, from or through Defendant or the use of

         which or access to which is facilitated by, or with the involvement of, Defendant:

                       i.          are, or contain, genuine or authentic Novo Nordisk

                Ozempic®, Wegovy®, or Rybelsus® medicines;

                      ii.          are sponsored by or associated with Novo Nordisk;

                     iii.          are approved by the FDA; have been reviewed by the FDA

                for safety, effectiveness, or quality; or have been demonstrated to the FDA

                to be safe or effective for their intended use;

                     iv.           achieve or have been shown or proven to achieve certain

                therapeutic results, effects, or outcomes, including by relying on or

                making reference to clinical trial results for Novo Nordisk’s medicines;

                      v.           achieve or have been shown or proven to achieve

                therapeutic results, effects, or outcomes similar or identical to Novo

                Nordisk’s medicines or are interchangeable with or equivalent to genuine

                Novo Nordisk medicines;

                     vi.           are associated or connected with Novo Nordisk or Novo

                Nordisk’s medicines; or

                     vii.          contain any ingredient (including semaglutide) that is

                supplied by Novo Nordisk, is approved by the FDA, or is the same as any

                ingredient in any Novo Nordisk medicine.


                                         –20 of 22–
                                        COMPLAINT
  Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.21 Page 21 of 22




                      b.         engaging in any unfair competition with Plaintiffs; and

                      c.         engaging in deceptive trade acts or practices.

       4.      That the Court require Defendant to disclose conspicuously and prominently in

any public-facing materials for any Unapproved Compounded Drugs, including all advertising,

marketing, and promotional materials, that: (a) the Unapproved Compounded Drugs are

compounded drugs that have not been approved by the FDA; have not been reviewed by the

FDA for safety, effectiveness, or quality; and have not been demonstrated to the FDA to be safe

or effective for their intended use; (b) the processes by which the compounded drugs are

manufactured have not been reviewed by the FDA; and (c) FDA-approved medicines containing

semaglutide are available.

       5.      That the Court award Plaintiffs monetary relief in the form of disgorgement of

Defendant’s profits for Defendant’s false advertising and unfair competition and that this

monetary relief be trebled due to Defendant’s willfulness, in accordance with 15 U.S.C. § 1117

and any applicable state laws.

       6.      That the Court order Defendant to account for and disgorge to Plaintiffs all

amounts by which Defendant has been unjustly enriched by reason of Defendant’s unlawful

actions.

       7.      That the Court award Plaintiffs punitive damages by reason of Defendant’s willful

unlawful actions.

       8.      That the Court award Plaintiffs pre-judgment and post-judgment interest on all

damages.




                                              –21 of 22–
                                             COMPLAINT
  Case 1:24-cv-00185-RJS Document 2 Filed 11/08/24 PageID.22 Page 22 of 22




          9.    That the Court award Plaintiffs their reasonable attorneys’ fees pursuant to 15

U.S.C. § 1117 and any other applicable provision of law.

          10.   That the Court award Plaintiffs the costs of suit incurred herein.

          11.   That the Court award such other or further relief as the Court may deem just and

proper.

          DATED this 8th day of November, 2024

                                                      CHRISTENSEN & JENSEN, PC

                                                      BY:      /s/ Trevor C. Lang
                                                               TREVOR C. LANG

                                                      ATTORNEYS FOR PLAINTIFFS
                                                      NOVO NORDISK A/S AND
                                                      NOVO NORDISK INC.




                                             –22 of 22–
                                            COMPLAINT
